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AO 440 (Re\'_ U(» 12) Summons in a Ci\ il .-\.ction

 

 

 

UNITED STATES DISTRICT COURT

for the

Soutl'\ern District of lndiana

W|LL|Al\/l BARNHOUSE,

P/¢ii/It[[}'(.\')

V. Civil Action No. 1219~CV-00958-TVVP-DLP

C|TY OF MUNCIE, et a|.'

vvvvv`./`/V~./~./\_/~_/

l)¢jf'e/)da/il(.\')
SL'.\I.\[()NS IN A CIVIL ACTI()N

TOI fDe/é'm/¢inl `.s name and <lt/c//‘r'.\'.\‘/ JOSepl°t TOdd
1008 S. Buckingham Rd.
Yorktown, |N 47396

A lawsuit has been filed against you.

\\'illiin 21 days after service oftliis summons on you (not counting the day you recei\'ed it) _ or 60 days it`you
are the United States ora United States agency or an officer or employee ot`the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) j you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 ot`
the Federal Rules of`Civil Procedure. The answer or motion must be served on the plaintit`t`or plaintit`t`s attorney.
whose name and address are: Danielle Ham'llt(m

l,oe\wv & l,oe\w'
311 N. Aberdeen St, 'l`liird FL
Chicago, 111 6()607

lt`you fail to respond judgment by default will be entered against you t`or the relief demanded in the complaint
You also must tile your answer or motion with the Court.

3/20/2019
Date:

 

Case 1:19=@v=00958=TWP=I|=P Document 28 I:i|ed 03/@9/19 Page 22)©1‘21&@@1;1321© #093

.»\O -1-10 (Re\ 06 12) Sumnion.s in a Ci\ il Acuon (Pa\_:c 21

 

C`ivil Action No. 1119-CV-00958-TWP-DLP

PROOF ()F SER\'lCF.
(This section should not befl`led with the court unless required by Fea'. R. Ci\'. P. 4 (l))

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was received by me on alton 3/23/19 _ ;%?EtoSWEU|([?\IkT§]g§SFT`| Rd

\7.( 1 personally served the summons on the individual at rp/¢icw

1008 S. Buckingham Rd Yorktown, |N 47396 on mata 3/23/19 @ 6;16pm ;or

fl 1 left the summons at the individuals residence or usual place ot`abode with rmi/nw
. a person ofsuitable age and discretion who resides there,

on o/i//t~) 1 and mailed a copy to the individuals last known address; or

fl 1 served the summons on ommu11//»1¢{/\~/1/1¢(//) 1 who is

designated by law to accept service ofprocess on behalt`ot`mimii' ~/ ~/;gu/n:uri<w/

011 /ct'rllt') Ol`
111 1 retumed the summons unexecuted because ; or
g Ofll€l‘ I.\'p<’cl'/‘_i'/'
.\1y fees are S t`or tra\cl and S 1`or ser\ ices. tor a total ot`S O_OO

1 declare under penalty ot`perjury that this information is true.

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DM; 3/29/19 L,QMWLTJ`WLL,¢]M…BL

.\`a/‘\'t'/‘ '\ \i`;/ii//i//'t'

Wendy Peckinpaugh

l’r/`/i/uz/ liu/nc u/n/ til/c

501 W Memeorial Drive PI\/|B: 368‘1
Muncie, |N47302

Ser\'er 's ml'o'res.s'

Additional information regarding attempted service. etc:

DOCU|\/|ENTS SERVED: SU|\/|MONS
|N A C|V|L ACT|ON, CO|\/IPLA|NT

Approximate Description of Receipiant : w/m/55/6’2"/190#/gray hair and mustache

 

